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 1                                   NOTE: CHANGES MADE BY THE COURT
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                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                           WESTERN DIVISION

11   Edwardo Munoz, individually and on
     behalf of all others similarly situated,
12
                               Plaintiff,       Case No. 2:18-cv-03893-RGK-AGR
13
           v.                                   (PROPOSED) ORDER
14
     7-Eleven, Inc., a Texas corporation,       APPROVING PLAINTIFF’S
15                                              PROPOSED PLAN FOR
16
                                 Defendant.     DISSEMINATING THE CLASS
                                                NOTICE
17

18                                               Complaint Filed: May 15, 2018

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 1         Pursuant to Plaintiff’s Motion for Approval of his Proposed Notice Plan, and
 2   good cause appearing, it is hereby Ordered:
 3                 1.       The Motion is granted.
 4                 2.       Notice, pursuant to Plaintiff’s Motion and including Exhibit “A”
 5                          shall be disseminated in accordance with the plan submitted.
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 7   IT IS SO ORDERED.
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     Dated: February 12, 2019
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                                                         Hon. R. Gary Klausner
11                                                       United States District Judge
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           [Proposed] Order Granting Joint Stipulation to Continue Hearing Re Motion for Class Certification
28                                                       -2-
